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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Case No. 16-cv-00671-RM-NRN

  ISABEL VALVERDE
  MARIA SIMON; and those similarly situated

         Plaintiffs,
  v.

  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY;
  OMNI INTERLOCKEN COMPANY, L.L.C.;
  OMNI HOTELS MANAGEMENT CORPORATION; and
  MARRIOTT INTERNATIONAL, INC.

         Defendants.


         ORDER RE: JOINT MOTION TO STAY ALL DEADLINES AND TOLL THE
          STATUTES OF LIMITATIONS FOR THE CONDITIONALLY CERTIFIED
       COLLECTIVE CLASSES’ FLSA CLAIMS PENDING MEDIATION (ECF NO. 251)


         THE COURT, having considered the Joint Motion to Stay All Deadlines and Toll the

  Statutes of Limitations for the Conditionally Certified Collective Classes’ FLSA Claims Pending

  Mediation (ECF No. 251) submitted by all parties, the court record, and the relevant rules and law,

  hereby finds that sufficient grounds have been shown for the requested stay. Accordingly, the

  Court ORDERS as follows:

         1.      The Motion (ECF No. 251) is GRANTED;

         2.      This case is hereby STAYED pending the parties’ mediation;

         3.      The FLSA statute of limitations for all members of all conditionally certified

                 collective classes in this case, see ECF No. 248 (conditionally certifying classes
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              and subclasses), are hereby tolled until (1) two weeks after the date(s) of any

              mediation undertaken by the parties or (2) two weeks after a notice to this Court by

              either party that settlement discussions have deteriorated and mediation will not be

              occurring; and

        4.    Absent the filing of a notice of settlement, the parties shall file a status report with

              the Court regarding settlement efforts within 56 days of the date of this order.

        DATED this 17th day of September, 2018.

                                                     BY THE COURT:




                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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